Case 1:21-cr-00050-CRC Document 44 Filed 10/15/21 Page 1 of 3
Case 1:21-cr-00050-CRC Document 44 Filed 10/15/21 Page 2 of 3
         Case 1:21-cr-00050-CRC Document 44 Filed 10/15/21 Page 3 of 3




        So stipulated.

                                     Respectfully submitted and agreed,


                                     CHANNING D. PHILLIPS
                                     ACTING UNITED STATES ATTORNEY
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Date: -------
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